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                                 UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF LOUISIANA

 LORETHIE DUNN                                          CIVIL ACTION NO.3:15-00762

 VERSUS                                                 JUDGE JAMES BRADY
 BOARD OF SUPERVISORS,
 LOUISIANA COMMUNITY AND                                MAGISTRATE ERIN WILDER-DOOMES
 TECHNICAL COLLEGE SYSTEM


                MEMORANDUM IN SUPPORT OF MOTION FOR CONTEMPT

         Defendant, the Board of Supervisors of the Louisiana Community and Technical College

 System (the "Board"), submits this Memorandum in Support of its Motion for Contempt for the

 reasons explained more fully herein. Specifically, the Board respectfully requests that Sheila C.

 Green, LPC; Beatrice A. Tatem, Ph.D, LPC-S, NCC, ACS; and Reverend George S. Cooper, Jr.

& Mrs. Charlotte Cooper be held in contempt for failing to provide documents responsive to

 subpoenas duces tecum issued to them by the Board.

         This case arises out of Plaintiff's allegation that she was subjected to racial

 discrimination and constructively discharged from her employment by the Board. (Doc. 45.)

Plaintiff claims that as a result of such actions, she is entitled to "damages for ...mental anguish

[and] emotional distress ...."1

         After repeated amicable demands, the Board received Plaintiffls discovery responses on

 Apri121, 2017. In accordance with 45 C.F.R. § 164.512, the Board then issued notice to Plaintiff

that it would be requesting records from four individuals who were identified in Plaintiff's

discovery responses as being persons who treated her for "any injury, damages, and/or losses"

alleged in her Complaint. Following the requisite waiting period, during which Plaintiff could

have objected to the subpoenas duces tecum (but did not), the Board issued the subpoenas duces


'Exhibit A,Excerpts from Plaintiffls amended responses to interrogatories(No. 14).

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tecum2 with a return date of May 16, 2017. To date, only one of those individuals, Dr. Vipul

Shelat, has provided responsive records.

         The discovery deadline in this matter is May 17, 2017. Because the Board has not

received records responsive to three of the subpoenas duces tecum, the Board moves this Court,

out of an abundance of caution, to hold the recipients of those subpoenas, Sheila C. Green, LPC3;

Beatrice A. Tatem, Ph.D, LPC-S, NCC, ACS4; Reverend George S. Cooper, Jr. &Mrs. Charlotte

Cooper,5 in contempt of court and to order production of records responsive to the subpoenas

duces tecum. F.R.C.P. 45(g) provides that this Court "may hold in contempt a person who,

having been served, fails without adequate excuse to obey the subpoena or an order related to it."

         WHEREFORE, the Board of Supervisors of the Louisiana Community and Technical

College System prays that its Motion for Contempt be granted and Sheila C. Green, LPC;

Beatrice A. Tatem, Ph.D, LPC-S, NCC, ACS; and Reverend George S. Cooper, Jr. &Mrs.

Charlotte Cooper, be held in contempt of court and ordered to produce records responsive to the

subpoenas duces tecum issued to them by the Board of Supervisors of the Louisiana Community

and Technical College System.




z Exhibit B, Subpoenas duces tecum to Sheila C. Green, LPC; Beatrice A. Tatem, Ph.D, LPGS,NCC, ACS;
Reverend George S. Cooper, Jr. &Mrs. Charlotte Cooper, and Dr. Vipul Shelat, in globo.
3 The subpoena to Ms. Green was served via certified mail on May 5, 2017. Undersigned counsel's office spoke
with Ms. Green on May 15, 2017, at which time she advised that she would be sending the responsive records.
4 The green card evidencing service on Dr. Beatrice Tatem has not yet been returned to undersigned counsel.
However, Dr. Tatem contacted undersigned counsel via telephone on May 16, 2017, at which time she was
reminded that the records were due and notified that her failure to timely produce them would result in the instant
motion.
SRev. and Mrs. Cooper were served via certified mail on May 6, 2017. Undersigned counsel has attempted to follow
up with Rev. and Mrs. Cooper via telephone but has been unsuccessful in that regard.

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                             Respectfully submitted,

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